   Case: 1:19-cr-00567 Document #: 121 Filed: 04/22/20 Page 1 of 2 PageID #:581

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Kimberly Fashauer                                                                     CLERK, U.S
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30th March 2020

The Honorable Judge Harry D. Leinenweber
Courtroom: I94l
Chambers: 1946
United States District Court
Northern District of Illinois
Everett McKinley Dirksen
United States Courthouse
219 South Dearborn Street. Chicago,IL 60604


Dear Honorable Judge I{arry D. Leinenweber,

I, Kimberly Fashauer, am writing in regards to Robert Sylvester Kelly's case, asking that
you please reconsider his detention order at this time, and that you please consider
Compassionate Release. With this pandemic that hit the US, Robert Sylvester Kelly's age
and health issues put him in the category          of   high risk for complications from the
Coronavirus, that's killing many people all over the world.




As i've stated before, I'm fully aware of the gravity of the allegations in this case, and I
personally wouldn't consider him a flight risk, especially with this worldwide pandemic
that's taken place. Robert Sylvester Kelly knows the seriousness of this matter/cbse as
well, and I know whole-heartedly that he would not do anything to jeopardize himself or
this case if he were allowed to be released. He has always made a commitment to fulfilling
his obligations, rvhich also brings strong confidence that he          will comply with any    and
every conditions of release. Mr. Robert Sylvester Kelly rvould keep his word, face his
obligations and honor his responsibilities, and with that being said I am asking for mercy
from the court to allow him to be able to return to the safety of isolation at his place of
residence.




Sincerely,

Kimberly Fashauer
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                        UNITED STRTE DISTRICT                         COURT
                        219 S DERRBORN ST
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